                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 17-CR-1004-LRR
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 STEPHANIE ANN MARCOV,                 RECOMMENDATION
                                   CONCERNING DEFENDANT’S
          Defendant.                      GUILTY PLEA
                     ____________________

                      I. INTRODUCTION AND BACKGROUND
       On February 8, 2017, a forty-count Indictment was filed against Defendant
Stephanie Ann Marcov. On May 19, 2017, Defendant appeared before United States
Magistrate Judge Kelly Mahoney and entered a plea of guilty to Count 104 of the
Indictment. On May 19, 2017, Judge Mahoney filed a Report and Recommendation in
which she recommended that Defendant’s guilty plea be accepted. No objections to
Judge Mahoney’s Report and Recommendation were filed.              The court, therefore,
undertakes the necessary review of Judge Mahoney’s recommendation to accept
Defendant’s plea in this case.
                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Criminal Procedure 59(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions, where
objections are made, as follows:

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              The district judge must consider de novo any objection to the
              magistrate judge’s recommendation. The district judge may
              accept, reject, or modify the recommendation, receive further
              evidence, or resubmit the matter to the magistrate judge with
              instructions.
Fed. R. Crim. P. 59(b)(3).1
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Mahoney’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Mahoney’s Report and Recommendation of
May 19, 2017, and ACCEPTS Defendant’s plea of guilty in this case to Count 104 of the
Indictment.
      IT IS SO ORDERED.
      DATED this 5th day of June, 2017.




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         United States v. Cortez-Hernandez, No. 15-2314, 2016 WL 7174114, at *3 (8th
Cir. Dec. 9, 2016) (per curiam), suggests that a defendant may have the right to de novo
review of a magistrate judge’s recommendation to accept a plea of guilty even if no
objection is filed. But see 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). The district
court judge will undertake a de novo review of the Report and Recommendation if a
written request for such review is filed within fourteen days after this order is filed.

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